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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-20767-CR-UNGARO/SIMONTON

  UNITED STATES OF AMERICA,

                Plaintiff,
  v.

  FLOR ILLIANA TORRES,

                Defendant.
                                    /

                    ORDER FINDING DEFENDANT FLOR ILLIANA TORRES
                             COMPETENT TO STAND TRIAL

         This matter was set for a hearing before the undersigned Magistrate Judge by the

  Honorable Ursula Ungaro to Determine the Competency of Defendant Flor Torres by

  Order entered on January 21, 2009 (DE # 340). Pursuant to this Order, I have considered

  the Competency Evaluation Report of Enrique M. Suarez, Ph.D. dated February 18, 2009;

  as well as the statements of counsel made at an evidentiary hearing held on February 27,

  2009. At the conclusion of the evidentiary hearing, the undersigned announced on the

  record her findings and conclusions that Ms. Flor Illiana Torres is competent to stand

  trial. This Order summarizes the proceedings and sets forth those findings and

  conclusions in greater detail.

         I. BACKGROUND

         Defendant Flor Illiana Torres is charged in one count of the presently pending

  Indictment with conspiracy to possess with intent to distribute fifty grams or more of

  cocaine base and/or five kilograms or more of a substance containing cocaine, in

  violation of 18 U.S.C. § 841 (Count 1).

         On January 13, 2009, the Government filed a Motion for Competency Evaluation

  and Hearing (DE # 334). In that Motion, the Government stated that on January 13, 2009,
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  the Defendant notified the Government of her intent to rely upon the affirmative defense

  of diminished capacity/severe depression/duress at trial based upon evaluations from

  the Defendant’s treating psychiatrist. In addition, the Government asserted that the

  Defendant did not have stable transportation and thus the Government was concerned

  that she would not be able to attend all necessary appointments for a psychiatric

  evaluation. The Government therefore requested that the Defendant be taken into

  custody and a psychiatric/psychological evaluation be performed at the medical facility

  at Buttner, North Carolina.

         On January 14, 2009, the Defendant filed a Response to the Government’s Motion

  wherein counsel for the Defendant represented that the Defendant had been seeing two

  treating physicians, Drs. Piniella and Morales while on bond and maintained that the

  Defendant had faithfully complied with the conditions of her bond (DE #335). Defendant

  further asserted that although the Defendant filed an ex parte motion for a forensic

  psychiatric expert for a specific purpose, that the defense had not alleged incompetency

  to stand trial. Therefore, the Defendant did not object to the Government’s request for a

  competency evaluation but did object to the request that the Defendant be taken into

  custody for that purpose.

         On January 22, 2009 the Honorable Ursula Ungaro, United States District Judge

  for the Southern District of Florida, found reasonable cause to order the Defendant to

  undergo a psychological examination pursuant to 18 U.S.C. § 4241(a) to determine

  whether she was competent to stand trial and assist in her own defense (DE #340). In

  addition, the Order directed the psychological examination to be conducted by

  neuropsychologist Dr. Enrique Suarez and set a competency hearing for February 27,

  2009, before the undersigned.

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         On February 11, 2009, the undersigned held a telephonic status conference on

  Defendant’s competency evaluation and was informed by Defendant’s Counsel that the

  medical evaluation by Dr. Suarez would be available within two weeks and upon

  completion would be faxed to the Court (DE #350). The Government indicated that it

  would not challenge the conclusions reached by Dr. Suarez regarding the Defendant’s

  competency to stand trial.

         On February 18, 2009, Dr. Suarez conducted an evaluation of the Defendant and

  on February 23, 2009, Dr. Suarez’s Report, which found the defendant competent to

  stand trial, was faxed to the undersigned. An evidentiary hearing was held before the

  undersigned on February 27, 2009. Counsel for the Government and the Defendant were

  both present as well as the Defendant and a Spanish interpreter for the Defendant. At the

  hearing, Dr. Suarez’s report was sealed and received into evidence (Court Exhibit #1)

  and reviewed by the undersigned (DE #367). Both counsel for the Government and

  counsel for the Defendant stated that they did not object to the findings in the Report

  and waived the necessity for Dr. Suarez to testify live at the hearing, although Dr. Suarez

  was available, if necessary. Defendant’s counsel advised that he did not doubt his

  client’s competency to proceed in the matter. At the conclusion of the hearing, the

  undersigned specifically found that the Defendant was competent, and stated that this

  finding would be set forth in a written order.

         II. FRAMEWORK FOR ANALYSIS

         Title 18, United States Code, Section 4241(a), provides that the Court shall order a

  hearing regarding a defendant’s competency to stand trial “if there is reasonable cause

  to believe that the defendant may presently be suffering from a mental disease or defect

  rendering him mentally incompetent to the extent that he is unable to understand the

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  nature and consequences of the proceedings against him or to assist properly in his

  defense.” The Court has the authority to order that a psychiatric or psychological

  examination be conducted, and that a report be filed with the court, prior to the date of

  such hearing. 18 U.S.C. § 4241(b). This examination, report, and hearing are to be

  conducted and prepared in accordance with the provisions of 18 U.S.C. § 4247. 18

  U.S.C. §§ 4241(b), 4241(c).

         Pursuant to 18 U.S.C. § 4247, report of examination shall include:

                (1) the person’s history and present symptoms;
                (2) a description of the psychiatric, psychological, and
                medical tests that were employed and their results;
                (3) the examiner’s findings; and
                (4) the examiner’s opinions as to diagnosis, prognosis, and–
                        (A) . . . whether the person is suffering from a mental
                disease or defect rendering him mentally incompetent to the
                extent that he is unable to understand the nature and
                consequences of the proceedings against him or to assist
                properly in his defense.

         Once there is an evaluation, the proceedings are governed by 18 U.S.C. § 4241(d),

  which provides that if, after a hearing, “the court finds by a preponderance of the

  evidence that the defendant is presently suffering from a mental disease or defect

  rendering him mentally incompetent to the extent that he is unable to understand the

  nature and consequences of the proceedings against him or to assist properly in his

  defense, the court shall commit the defendant to the custody of the Attorney General....

  for such a reasonable period of time, not to exceed four months, as is necessary to

  determine whether there is a substantial probability that in the foreseeable future he will

  attain the capacity to permit the proceedings to go forward.” Thus, the initial burden of

  persuasion is on the movant to establish by a preponderance of the evidence that the

  defendant is not competent.



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         III.   COMPETENCY EVALUATION BY ENRIQUE SUAREZ, Ph.D.

         The report prepared by Dr. Suarez and the evaluative conclusions contained in

  the report were stipulated to at the evidentiary hearing. Thus, since the parties do not

  contest the finding in Dr. Suarez’s Report that the Defendant is presently competent to

  proceed, the Defendant’s other medical records are only discussed to the extent that Dr.

  Suarez reviewed them as part of his evaluation of Ms. Torres.

         Dr. Suarez conducted a competency evaluation of Ms. Torres on February 18,

  2009. His procedures included an interview of Ms. Torres and her son; Mental Status

  Examination; Competency Instrument, Minnesota Multiphasic Personality

  Inventory–Second Edition; review of the Indictment, call log and audio recordings of

  intercepted calls of Defendant and Co-Defendants, and, a review of the medical and

  psychiatric records from New Horizons Community Mental Health Center

         Interview of Defendant Torres:

         In his Report, Dr. Suarez related the pertinent history of Defendant Torres based

  upon his interview with her and specifically discussed her childhood, family life and

  physical health. According to the Report, Ms. Torres reported that she is a native of

  Puerto Rico and has been living in Miami since 1998, and had previously lived in

  Connecticut and New York City. Ms. Torres reported that she had previously been in an

  abusive relationship between 1999 and 2008 and although she never married, she has

  three children, one of whom is a co-defendant in this case.

         Ms. Torres reported that she dropped out of school in the ninth grade. She stated

  that she has not worked since before she moved to Miami and has been receiving

  disability income benefits for depression since 2005. Dr. Suarez reported that Ms. Torres

  provided pharmacy receipts for medications that she has been taking for a number of

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  health problems.

           As to her mental health history, Dr. Suarez noted that Ms. Torres had been

  receiving psychiatric treatment for depression at several mental health clinics including

  New Horizon Community Mental Health Center. The Defendant reported that she has

  been admitted to the inpatient unit at that facility on three occasions in the past two to

  three years and that she experiences depression, anxiety, and thoughts about wanting to

  die, although she denies ever trying to harm herself. Ms. Torres reported that in 2003

  she began seeing shadows and hearing someone call her name and that when she is not

  taking her medication she hears someone calling her name two to three times a week.

  Ms. Torres has recently been receiving psychiatric treatment from Dr. Alfredo Piniella,

  M.D. Dr. Suarez reported that Ms. Torres denied any history of substance abuse as an

  adult.

           Interview with Defendant’s Son:

           Dr. Suarez interviewed the Defendant’s twenty-one year old son who confirmed

  that beginning in 1999, his “step-father” beat and mistreated Ms. Torres and was placed

  in jail twice for domestic violence. Ms. Torres’ son reported that his mother is disabled

  for her nerves and that she hears voices but is a lot better when she is on medication.

           Records from New Horizons Community Mental Health Center:

           Dr. Suarez reviewed the records form New Horizons Community Mental Health

  Center which indicate that Ms. Torres has been undergoing treatment for major

  depressive disorder with psychotic features since 2002. During that treatment, Ms.

  Torres reported experiencing depression, anxiety, insomnia, suicidal ideation and

  auditory, visual and tactile hallucinations. She has been treated with a variety of mood

  stabilizing drugs including neuroleptic, anxiolytic, antidepressant and anticonvulsant

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  medications. Ms. Torres was often noncompliant with taking that medication. The

  records further indicate that she also received treatment from Bayview Center, but Dr.

  Suarez did not review those records.

         Psychological Testing:

         Dr. Suarez administer the Minnesota Mulitphasic Personality Inventory-Second

  Edition (MMPI-2) test to Ms. Torres and her results were scored by the Pearson

  Assessment Service which generated a Pre-Trial Criminal Interpretive Report for

  Forensic settings regarding Ms. Torres. According to that Report, Ms. Torres’ responses

  produced an invalid profile. As reported by Dr. Suarez, the Report states that Ms. Torres

  responded to the test in an “extremely exaggerated manner” with a “wide variety of

  inconsistent symptoms and attitudes,” and the Report recommended that another test

  be administered. Dr. Suarez reviewed the test results and concluded that Ms. Torres’

  responses were probably not due to her mental state but may have “represent[ed] either

  an attempt to evade disclosure about her personal information or carelessness in

  recording her answers.”

         Competency Interview:

         Dr. Suarez specifically tested Ms. Torres regarding her competency to stand trial in

  this case, and concluded that she “clearly has the capacity to communicate with and

  assist her attorney.” He further concluded that Ms. Torres “...has the capacity to testify

  with relevance” and does not lack “the capacity or ability to manifest appropriate

  courtroom behavior.” In addition, he determined that her answers to his questions reflect

  that she understands the nature of these proceedings and the charges against her.

         In his report, Dr. Suarez included an assessment of Ms. Torres’ behavior in several

  areas specifically designed to measure a defendant’s competency to stand trial. Dr.

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  Suarez rated Ms. Torres as “Acceptable” in all of the categories (which are quoted

  below), and gave specific examples of responses made by Ms. Torres that demonstrated

  her competency in each area, as follows:

        1.     Appreciation of the charges or allegations: Assessment of the
               defendant’s understanding of literal knowledge of the charges
               or allegations. It is important the defendant understands that
               they are being accused, the consequences of which may be
               detrimental to him/her.

        Dr. Suarez noted that Defendant Torres understood she was charged with

  conspiracy to distribute crack cocaine.

        2.     Appreciation of the range and nature of possible penalties: if
               applicable, which may be imposed in the proceedings against
               him/her: Assessment of the defendant’s concrete
               understanding and appreciation of the conditions and
               restrictions which could be imposed on them if found guilty
               and of their possible duration.

        Dr. Suarez noted that Defendant Torres recognized the possibility of a prison

  sentence which her lawyer estimated to be four years.

        3.     Understanding of the adversary nature of the legal process:
               Does the defendant understand that (a) the responsibility of
               his/her attorney is to assist them (b) the State Attorney’s
               responsibility is to prove his/her guilt; and (c) the Judge is
               impartial and protects his/her rights as well as those of the
               State and (d) the jury is impartial.

        Dr. Suarez noted that Defendant Torres understood the role of her attorney, the

  possible outcome of the case, as well as the roles of the prosecutor, court, jury and

  witnesses.

        4.     Capacity to disclose to his/her counsel facts pertinent to the
               proceedings at issue: Assessment of the defendant’s capacity
               to give consistent, rational, and relevant account of the facts
               surrounding his/her alleged offense or the accusations
               against him/her. Intelligence, perceptual capacity, memory,
               and validity of any claimed amnesia should be assessed.
               Consideration should be given to potential disparity between

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                what the defendant may disclose to a clinician and what they
                may share with their attorney.

         Dr. Suarez noted that Defendant Torres “clearly has the capacity to communicate

  with and assist her attorney;” she was able to identify 11 of the co-defendants and to

  explain her version of the events.

         5.     Ability to manifest appropriate courtroom behavior.
                Assessment of the defendant’s current behavior and probable
                behavior when exposed to the stress of courtroom
                proceedings. Evaluate the defendant’s beliefs and attitudes
                toward the judicial system.

         Dr. Suarez noted that there was no indication that Defendant Torres would not be

  able to manifest appropriate behavior and the she was able to discuss possible outcomes

  without distress.

         6.     Capacity to testify relevantly: Assessment of the defendant’s
                ability to testify with coherence, relevance and independence
                of judgment including both cognitive and affective factors
                which may impact on their ability to communicate.

         Dr. Suarez noted that based on responses to his questions about her charges,

  Defendant Torres gave a reasonable and rational account of her involvement and has the

  capacity to testify relevantly.

         Dr. Suarez’s Conclusions

         Ultimately, Dr. Suarez concluded that Ms. Torres’ present condition is consistent

  with a provisional diagnosis of “Mood Disorder not Otherwise Specified” and that she

  does not meet the criteria for involuntary hospitalization. He determined that her visual

  hallucinations appear to be “sleep related”, and that her auditory hallucinations were

  incongruent with her depression and did not include delusional beliefs. However, despite

  the existence of the above mental disorder, based upon the above-described competency

  instrument used for evaluation, Dr. Suarez concluded that Ms. Torres is competent to

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   proceed in this matter.

          IV.    LEGAL ANALYSIS

          As stated above, these proceedings are governed by 18 U.S.C. § 4241(d), which

   provides that if, after a hearing, “the court finds by a preponderance of the evidence that

   the defendant is presently suffering from a mental disease or defect rendering him

   mentally incompetent to the extent that he is unable to understand the nature and

   consequences of the proceedings against him or to assist properly in his defense, the

   court shall commit the defendant to the custody of the Attorney General.... for such a

   reasonable period of time, not to exceed four months, as is necessary to determine

   whether there is a substantial probability that in the foreseeable future he will attain the

   capacity to permit the proceedings to go forward.”

          In the case at bar, although the Defendant has been receiving treatment for

   psychiatric problems, i.e. major depressive disorder, since 2002, she is receiving

   medication to treat this condition. In addition, Dr. Suarez provided a diagnosis of a mood

   disorder and did not find her to be incompetent. Dr. Suarez’s conclusion is well-

   supported in his written report. In addition, the undersigned notes that defense counsel

   concurs that the Defendant is competent to proceed at the present time. Thus, the

   undersigned concludes that the evidence in the record clearly establishes that Defendant

   Flor Torres is able to understand the consequences of these proceedings and is capable

   of assisting properly in her defense and therefore is competent to stand trial in this

   matter.

          V.     CONCLUSION

          Therefore, based upon the foregoing analysis, and considering the record as a

   whole, it is hereby

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          ORDERED and ADJUDGED that Defendant Flor Illiana Torres is competent to

   stand trial and there is no reason delay further proceedings in this case.

          DONE AND ORDERED in Miami, Florida this 6th day of March, 2009.




                                             ANDREA M. SIMONTON
                                             UNITED STATES MAGISTRATE JUDGE

   Copies furnished to:
   The Honorable Ursula Ungaro
         United States District Judge
   Counsel of Record via CM/ECF




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